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US v. Nijjar Brothers, et. al.

04-5356 AWI

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SURINDER SINGH NIJJAR



                      IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA, FRESNO
                                           *****


                                                ) Case No.: CR-F-04-5356 AWI
UNITED STATES OF AMERICA,                       )
                                                ) STIPULATION TO SET SENTENCING
               Plaintiff,                       )
                                                ) DATE
        vs.                                     )
                                                )
SURINDER SINGH NIJJAR,                          )
                                                )
               Defendant.
                                                )


        IT IS HEREBY STIPULATED between the Defendant, SURINDER SINGH NIJJAR, by
and through his attorney-of-record, Anthony P. Capozzi, and Plaintiff, by and through Assistant
United States Attorney, Mark E. Cullers, that the Sentencing Hearing be scheduled for Thursday,
November 1, 2007 at 9:00 a.m.


        This continuance is jointly requested by the parties due to the unavailability of the agents
and counsel in this matter.
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      It is further stipulated by the parties that any delay resulting from this continuance shall be
excluded on the following basis:

                        1. Title 18, United States Code, Section 3161(h)(8)(A) -- that the ends of

                            justice served by taking such action outweighs the best interest of the

                            public and the defendant in a speedy trial;

   2. Title 18, United States Code, Section 3161(h)(8)(ii) -- that it is unreasonable to expect

      adequate preparation for pre-trial proceedings or for the trial itself with the time limits

      established due to the complexity of the case.

                                                   Respectfully submitted,


Dated: August 1, 2007


                                                   /s/ Anthony P. Capozzi

                                                   Anthony P. Capozzi,

                                                   Attorney for Defendant,

                                                   SURINDER SINGH NIJJAR




Dated: August 1, 2007


                                                   /s/ Mark E. Cullers

                                                   Mark E. Cullers,

                                                   Assistant United States Attorney
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                                    ORDER


IT IS SO ORDERED.


Dated:    August 6, 2007                  /s/ Anthony W. Ishii
0m8i78                             UNITED STATES DISTRICT JUDGE
